                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER


 UNITED STATES OF AMERICA,                        )
                                                  )
                 Plaintiff,                       )
                                                  )
 v.                                               )              No. 4:15-cr-13-TRM-SKL
                                                  )
 JAMES HEDELSKY,                                  )
                                                  )
                 Defendant.                       )


                               REPORT & RECOMMENDATION

           Before the Court is a motion to suppress filed by Defendant James Hedelsky

 (“Defendant”) [Doc. 48] without a separate supporting memorandum.          Defendant argues for

 suppression of all incriminating statements he allegedly made to law enforcement during a

 custodial interrogation and for suppression of all evidence found during a post-interrogation

 search.    As grounds, Defendant argues his Fifth Amendment rights and Miranda v. Arizona, 384

 U.S. 436, 479 (1966) were violated because he was interrogated without first being informed of

 his Miranda rights.     Plaintiff United States of America (“the government”) filed a response in

 opposition to the motion arguing suppression is not warranted because no constitutional or

 Miranda violation occurred [Doc. 53].1 I RECOMMEND that Defendant’s motion to suppress

 be DENIED.




 1
  The motion to suppress was referred for a report and recommendation pursuant to 28 U.S.C. §
 636(b) by standing order. An evidentiary hearing on the motion to suppress was held on April 1,
 2016.


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 I.     FACTS

        On October 27, 2015, Defendant was indicted and charged with conspiracy to distribute

 and possess with the intent to distribute 50 grams or more of methamphetamine (actual) in

 violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846 and possession with the intent to

 distribute 50 grams or more of methamphetamine (actual) in violation of 21 U.S.C. §§ 841(a)(1)

 and 841(b)(1)(A). During the evidentiary hearing, the government offered the testimony of

 Drug Enforcement Administration Task Force Officer Kyle Brewer (“Officer Brewer”) and 17th

 Judicial Drug Task Force Officer Jose Ramirez (“Officer Ramirez”). Defendant offered his own

 testimony.

        A. Testimony of Law Enforcement Officers

        As pertinent, Officer Brewer and/or Officer Ramirez testified as follows. On July 22,

 2015, Takesta Smith (“Ms. Smith”), co-defendant David Hartley (Mr. Hartley”), and Defendant

 were traveling together in a black Nissan Pathfinder.        Unfortunately for Defendant, law

 enforcement agents had received information from a confidential informant that Ms. Smith, who

 was a fugitive with an outstanding federal warrant, would be at the Northgate Shopping Center in

 Tullahoma, Tennessee. Law enforcement set up surveillance in the shopping center parking lot.

 An agent observed Ms. Smith get into another vehicle with the confidential informant. As Ms.

 Smith and the informant were driving away to a separate location, an agent saw Ms. Smith waving

 to two men standing by the Pathfinder. The two men were later identified as Mr. Hartley and

 Defendant. A few moments later about ¼ mile from the shopping center, Ms. Smith was arrested

 on the outstanding federal warrant and a distribution quantity of suspected methamphetamine was

 seized from near where she was sitting in the car with the informant.

        After Ms. Smith’s arrest, Officer Brewer and 17th Judicial Drug Task Force Director




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 Timothy Lane (“Director Lane”), who had remained at the Northgate Shopping Center area in two

 separate cars, pulled up behind the Pathfinder with Director Lane’s emergency “blue” lights

 activated. At that time, the left rear door of the Pathfinder was open and Defendant and Mr.

 Hartley were standing nearby. Without raising his voice or drawing a weapon, Director Lane

 identified himself and asked the men who owned the Pathfinder. After the men answered that “T”

 or “Takesta” owned the Pathfinder, Director Lane asked if they had any belongings in the

 Pathfinder and they both said they did not. Defendant stated he had been driving the Pathfinder

 because he was the only occupant with a valid driver’s license.          Neither man had been

 handcuffed, restrained, or placed under arrest at this point. Director Lane began a search of the

 Pathfinder.

        Officer Ramirez arrived at the scene about the time Director Lane entered the Pathfinder

 and began to search.     During the search, Director Lane quickly found a camouflage bag

 containing a box that contained a distribution quantity of suspected ice methamphetamine.

 Officer Brewer and Officer Ramirez then arrested and handcuffed Defendant and Mr. Hartley.

 After Mr. Hartley and Defendant were arrested, they were both advised of their Miranda rights by

 Director Lane in the presence of Officer Brewer. Only about five minutes transpired from the

 time law enforcement first approached the men in the parking lot until they were arrested.

        Ms. Smith and Mr. Hartley both waived their Miranda rights and were questioned later

 than day. Defendant was not questioned that day; instead, he was transported to the Coffee

 County Jail.

        The next day, July 23, 2015, at the request of law enforcement Defendant was brought

 from his cell to a conference room at the jail where Officer Brewer, Director Lane, Officer

 Ramirez, and Officer Chris Smith were present to interrogate Defendant. Prior to beginning the




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 interrogation, Director Lane advised Defendant of his Miranda rights and asked him if he

 understood them. Defendant indicated that he understood his rights and voluntarily spoke with

 law enforcement. The paperwork completed by Officer Brewer states Defendant was informed of

 his Miranda rights, but does not specifically state Defendant waived those rights. During the

 interrogation, Defendant was cooperative and made several incriminating statements, including

 that he had a safe in a garage in Georgia that contained methamphetamine and money. Defendant

 told the officers how to locate the garage and provided the combination for the safe.

        Due to the number of officers present, the interrogation took place in a conference room at

 the jail that was not specifically equipped with recording equipment like the smaller jailhouse

 interview room. Defendant was in his mid-50s, competent, and familiar with the criminal justice

 system due to his past felony drug convictions. During the 30-minute interrogation, Defendant

 was provided a soft drink and the questioning occurred in a calm and professional manner.

 Defendant was probably in ankle shackles due to jail policy, but his handcuffs were removed for

 the interview. While the four officers present were armed, they did not draw their guns.

        Neither testifying officer had a Miranda rights adviser form with him during the

 interrogation and neither officer typically uses such a form. While such forms are available to the

 officers, applicable policies do not require the use of a written advisement and waiver form or the

 recording of an interrogation. Neither officer thought it was necessary to use a waiver form in this

 case because law enforcement had four “witnesses” in the interview room.

        During the execution of a search warrant obtained and executed by the Bartow County

 Sheriff’s Office in Georgia the following day, July 24, 2015, methamphetamine, a loaded gun, and

 money were seized from the safe using the combination provided by Defendant.




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        B. Testimony of Defendant

        Defendant testified as follows. He is 59 and knows what Miranda warnings and rights

 are, but he was not advised of his Miranda rights at either the scene of his arrest on July 22 or at

 any time during his jailhouse interrogation on July 23. Defendant was at a shopping center in

 Tullahoma, Tennessee on July 22, but he is not sure where they were as he lives in Georgia and is

 not from the Tullahoma area. Defendant did not know any of the officers in this matter, and the

 officers did not know Defendant, prior to July 22.

        Defendant saw Director Lane pull up to the Pathfinder with his blue lights flashing.

 Director Lane or another officer told Defendant and Mr. Hartley not to go anywhere and to stand in

 front of the Pathfinder. Defendant originally indicated that Director Lane immediately began to

 search the Pathfinder without asking questions. Defendant also said Director Lane first asked

 whose vehicle it was, whether either man had anything in the vehicle, and who was driving the

 vehicle before searching the Pathfinder. Defendant told officers he was driving because nobody

 else had a driver’s license and that nothing in the Pathfinder was his. Defendant also said Director

 Lane did not “really ask” any questions at the scene because he already knew the Pathfinder

 belonged to Ms. Smith. Defendant was arrested and handcuffed within a minute or two of the

 officers’ arrival. Defendant was taken to the Coffee County Jail without any further questioning.

 Defendant adamantly denied he was ever advised of his Miranda rights on July 22.

        The next day, July 23, Defendant was pulled from his cell and brought to an interview

 room even though he did not request to speak with law enforcement. He remembered being

 handcuffed, but could not remember being shackled. When he got to the interview room, there

 were four officers present. None of them informed him of his Miranda rights, they simply started

 asking him questions. It was obvious to Defendant that Mr. Hartley had spoken to the officers




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 about “some things.” Defendant thought the officers were trying to get Defendant to corroborate

 what Mr. Hartley said. Because Defendant would not tell Officer Brewer what the officers

 wanted to hear, Officer Brewer got mad and yelled at Defendant. The interview was only 10

 minutes long because Defendant did not cooperate, did not tell the officers where to find the safe,

 and did not provide a combination to the safe. Defendant was again adamant that he was not

 advised of his Miranda rights and did not cooperate or make any incriminating statements during

 the July 23 interrogation.

        Defendant knew Mr. Hartley for about a year prior to July 22. Defendant knew that Ms.

 Smith was Mr. Hartley’s girlfriend because he saw them together at Mr. Hartley’s house but

 Defendant did not really know Ms. Smith or know how long she and Mr. Hartley had been

 together. Defendant knew there was a safe in the garage of a particular house in Georgia but it

 was not his house; it was a female friend’s house. Defendant helped the female friend move into

 the house and went to the garage/house about once a week, but he did not stay there. He stored

 “things” in the female friend’s garage where the safe was found, but the safe was not his.

 Defendant has “no idea” how officers were able to get into the safe. Defendant said Mr. Hartley

 must have told the officers about the safe because he did not. Defendant also denied knowing

 there was any methamphetamine in the Pathfinder.

        Defendant admitted he took one prescription pain pill, a Percocet that was not prescribed to

 him on July 21, but he denied any other illegal drug use from July 21 through July 23, 2015.




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 II.     ANALYSIS

         Alleging only that his Fifth Amendment rights and Miranda were violated by law

 enforcement because he was never advised of his Miranda rights, Defendant seeks to suppress any

 statements the officers claim he made on July 23, 2015, and all evidence seized from the safe on

 July 24, 2015.2

         A. Applicable Standards

         The Fifth Amendment to the United States Constitution provides that a defendant cannot

 “be compelled in any criminal case to be a witness against himself.” United States v. Protsman,

 74 F. App’x 529, 532 (6th Cir. 2003) (citing U.S. Const. amend. V.). In Miranda, the Supreme

 Court upheld a suspect’s constitutional right against compelled self-incrimination and established

 that no criminal suspect may be subjected to custodial interrogation without first being advised of

 the right to have counsel present and the right to remain silent. 384 U.S. at 478-79. “To ensure

 compliance with this rule, incriminating statements elicited during custodial interrogation prior to

 Miranda warnings cannot be admitted at trial.” United States v. Malcolm, 435 F. App’x 417, 420

 (6th Cir. 2011). “An express written or oral statement of waiver of the right to remain silent or of

 the right to counsel is usually strong proof of the validity of that waiver, but is not inevitably either

 necessary or sufficient to establish waiver.” North Carolina v. Butler, 441 U.S. 369, 373 (1979).

         “The Fifth Amendment’s protection against compelled self-incrimination, from which

 Miranda’s warning requirement is derived, prevents the government from introducing unwarned

 statements against a criminal defendant at trial, but it does not apply to physical evidence.”



 2
   Defendant has not challenged the inventory search of the Pathfinder or his arrest. Defendant’s
 motion, as filed, seeks to suppress statements he made the day of his arrest, July 22, 2015, but
 Defendant dropped this aspect of his motion at the conclusion of the hearing. Neither party has
 addressed Defendant’s standing (i.e., his alleged expectation of privacy) to challenge the seizure of
 evidence from the safe.


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 United States v. Reese, 509 F. App’x 494, 503 (6th Cir. 2012), cert. denied, 133 S. Ct. 2780 (2013)

 (citation omitted). “The Miranda rule protects against violations of the Self–Incrimination

 Clause, which, in turn, is not implicated by the introduction at trial of physical evidence resulting

 from voluntary statements.” Id. at 503 (alteration and internal quotation marks omitted). See also

 United States v. Lewis, 110 F. App’x 569, 572 (6th Cir. 2004) (“The police’s failure to issue Lewis

 a Miranda warning thus does not prevent the admission into evidence of the subsequently

 discovered firearm--the physical, nontestimonial fruit of his voluntary statements.”).

        B. July 23, 2015 Statement

        Defendant claims he was not advised of his Miranda rights before he was questioned by

 law enforcement on July 23, 2015, and that any statements must, therefore, be suppressed. The

 government argues Miranda warnings were given and that Defendant voluntarily, knowingly, and

 intelligently waived his Miranda rights and made incriminating statements. Defendant does not

 argue that his Miranda waiver was not voluntary, knowing, and intelligent; rather, he claims he

 was never advised of his rights and thus could not relinquish them. He also denies that he made

 any incriminating statements.

        As agreed by the parties at the conclusion of the hearing, the motion turns on the Court’s

 determination of credibility regarding whether the Miranda warnings were given as claimed by

 law enforcement or not as claimed by Defendant. A court has wide latitude in making credibility

 determinations. United States v. Haynes, 301 F.3d 669, 679 (6th Cir. 2002). In assessing

 credibility, a court considers numerous factors, ultimately relying on the common sense tests of

 reason and logic. See United States v. Murphy, 402 F. Supp. 2d 561, 569 (W.D. Pa. 2005).

        After considering each witness’s demeanor, descriptive account of the events, and overall

 impression, I FIND the officers gave credible testimony about the provision of Miranda warnings




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 to Defendant.     Both testifying officers gave consistent and credible testimony, including

 testimony that Defendant was orally advised of his Miranda rights not once, but twice. Both

 officers credibly and consistently testified they witnessed Miranda warnings advisements being

 given to Defendant at the scene of arrest and again the next day just prior to Defendant’s

 interrogation.   Director Lane gave the Miranda warnings advisement on the day of the

 interrogation in the presence of three other officers. While perhaps the officers could have

 recorded the jailhouse interrogation or could have had Defendant sign an advisement of rights

 form, there is no requirement that they do either. See Butler, 441 U.S. at 373. I FIND the

 officers’ testimony to be entirely consistent, plausible, supported, and an accurate account of the

 relevant events at issue.

        Defendant’s arguments to the contrary are weak at best. Defendant argues that the

 officers’ consistent testimony may actually indicate only that the testimony was well prepared or

 rehearsed. Courts, however, may conclude that the “consistency of the two officers’ accounts”

 indicates that their statements are credible. United States v. Garrido, 467 F.3d 971, 979 (6th Cir.

 2006); see also United States v. Simmons, 174 F. App’x 913, 917 (6th Cir. 2006) (finding officers'

 testimony credible because it was substantively consistent); United States v. Craft, 150 F. App’x

 413, 415 (6th Cir. 2005) (finding officers credible because they “testified consistently, one with

 the other.”). Defendant also appears to question why the government did not call Director Lane

 as a witness. Given that two of the officers present when Director Lane advised Defendant of his

 Miranda rights before the interrogation began were called as witnesses, it is likely that Director

 Lane’s testimony would have been merely cumulative.3 In short, Director Lane’s absence from




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  Defendant did not subpoena Director Lane or apparently even request that the Government make
 Director Lane available as a witness.


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the hearing, standing alone, does not indicate the officers fabricated the provision of Miranda

warnings to Defendant.

         In contrast to the officers’ testimony, Defendant’s version of events is fairly unbelievable.

It seems unlikely that Defendant would drive from Georgia to Tullahoma, Tennessee and wait in a

parking lot while Ms. Smith, a woman he claims he barely knew, unbeknownst to him took

methamphetamine to a rendezvous with what turned out to be a confidential informant setting up

an arrest. It is even more doubtful that Defendant knew nothing about the large amount of

methamphetamine left in the Pathfinder with him and Mr. Hartley, his friend of one year and the

boyfriend of Ms. Smith. His testimony about not saying anything to the officers about the

methamphetamine-containing safe stored with his other property in his female friend’s garage is

farfetched at best. Defendant’s assertions that the officers fabricated his statements, perhaps

based on some information that Mr. Hartley provided is simply implausible given that there was no

evidence whatsoever presented that Mr. Hartley stored items in the garage or provided a

combination to the safe to the officers. While each of Defendant’s claims is improbable on its

own, in combination they border on fantastical and I FIND Defendant’s testimony to be patently

false.

         In addition, Defendant has a huge incentive to lie because it appears he is facing a

significant mandatory minimum sentence of either 20 years or life imprisonment if convicted in

this case due to his prior felony convictions. While the officers may have an incentive to support

their cases as argued by Defendant, there is no evidence that they have any history of fabricating

evidence, no evidence they knew of Defendant prior to his arrest, and no evidence of any particular

reason why they would falsify a written report and search warrant in July of 2015 and then commit

perjury in this case as claimed by Defendant.




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       Stated simply, the government has demonstrated that no violation of Defendant’s Fifth

Amendment rights or Miranda occurred. As Defendant has argued no other basis for the

suppression of evidence from the safe, his argument for suppression of all evidence from the safe

fails and it is not necessary to address any alternative argument that the failure to issue Miranda

warnings does not prevent the admission into evidence of physical, nontestimonial fruit of

voluntary statements. As to Defendant’s claims that he made no incriminating statements and

knows nothing of the contents of the safe, those are issues reserved for the factfinder at trial.

III.   CONCLUSION

       For the reasons stated above, I RECOMMEND4 that Defendant’s motion to suppress

[Doc. 48] be DENIED in its entirety.

                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE




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  Any objections to this report and recommendation must be served and filed within 14 days after
service of a copy of this recommended disposition on the objecting party. Such objections must
conform to the requirements of Rule 59(b) of the Federal Rules of Criminal Procedure. Failure to
file objections within the time specified waives the right to appeal the district court’s order.
Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira v.
Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate
review. Smith v. Detroit Fed’n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


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